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April 10", 2021
To Whom It May Concern regarding the case of Julian Khater,

My name is Eleanor Fox and I am Julian Khater’ smother. —~
Julian is my second of four : sons. My first, third. and fourth were
all little fireballs. Julian was always the quiet one, the sweet _
one; as my father Dr. Robin Fox would say, “the little elves
brought Julian!” He was the one to hold the younger ones’
hands; he would not go and play with the other children in order
to stay behind and play with his younger cousins who couldn’t _
go off with the older kids. Every mother sees her children
through rose colored glasses, you could say, but Julian has never
been in trouble, has never caused trouble, and has never given

me a sleepless night.

I was raised in a family of intellectuals and Liberals. My father,
Dr Robin Fox, founded the Anthropology department at Rutgers
University in 1969. He is the author of over 30 books on the
subject and was inducted into the National Academy of
Sciences. My mother was university educated and we have

lived in the US since 1969. 1 also attended Rutgers University.
My sisters are both anthropologists, my younger sister Dr. Anne
Fox has a PHD in the subject, and my older sister, Kate Fox, is a
renowned author. My son Julian was raised to study, work hard, —
and espouse a liberality of ideas and cultures.

My sister only told me of a typical Julian story after his arrest
because she had promised him, from age 7, never to tell Mom:
Julian ran into the road on one of our visit to see her. My sister
was horrified and Julian said to her, please don’t tell Mom. She
told him that I wouidn’t be angry with him, and he replied, I
know, but she would be scared and she would cry, and I don’t
want to make her cry. That is my child, that is his heart.

Julian was always easy as a child, and continued that way
through school and college. He switched countries and
languages in his last year of high school, and went on to gain a
Bachelor’s degree from Fairleigh Dickinson in Business and
Marketing. His father and I raised our boys to respect teachers,
and all of his teachers’ comments were how polite and respectful
he was. Our home was one of laughter and discipline, and my
boys always came to me with their problems. Julian wanted to
become a police officer. I worried about that, but he felt a strong
sense of community for where we lived in New Jersey and had
friends who had joined the police force. His career took

 

 
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different paths, but I was the most shocked when the media
reports came out that said that Julian had supposedly attacked an
officer!! He wanted to BE an officer! I knew it had to be
wrong. He would never, ever put a member of law enforcement
in danger.
Whatever transpired or didn’t ¢ on January 6 3021, T know my
child, and 1 know with the certainty, not of a blindly adoring
mother, but with the conviction of a mother who is also a friend _
and confidante, that Julian no more intended to cause harm or
use violence on another person than, the little boy who. didn’t, .
want his mother to cry.

I most fervently beseech you to look at all the testimonials _ |
written about Julian’s character and show compassion to my son.

Sincerely,
Eleanor Fox

 

 
